Case 1:20-cr-00305-LDH Document 83-2 Filed 04/11/22 Page 1 of 7 PageID #: 444




                             EXHIBIT A
 Case1:20-cr-00305-LDH
Case   1:05-cr-00558-NG Document
                        Document 83-2
                                 63 Filed
                                      Filed04/02/07
                                            04/11/22 Page
                                                      Page1 2ofof6 7PageID
                                                                     PageID#:#:236
                                                                                445

                                                U.S. Department of Justice


                                                United States Attorney
                                                Eastern District of New York
                                                One Pierrepont Plaza
                                                Brooklyn, New York 11201

                               Mailing Address: 147 Pierrepont Street
                                                Brooklyn, New York 11201

                                                April 2, 2007

By ECF and By Fax

The Honorable Nina Gershon
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

            Re:   United States v. Ronald Washington,
                  Criminal Docket No. 05-558 (S-1) (NG)

Dear Judge Gershon:

          The government respectfully submits this letter in
support of its motion, pursuant to Rules 608 and 609 of the
Federal Rules of Evidence, to cross-examine the defendant
concerning certain specific instances of misconduct and certain
criminal convictions should he choose to testify in his own
defense.

                                   BACKGROUND

A.    Ronald Washington's Criminal History

          On March 16, 1982, the defendant pleaded guilty in
Supreme Court, Queens County, to attempted robbery in the first
degree and was sentenced to a term of between 18 months and 54
months imprisonment.

          On July 10, 1984, the defendant pleaded guilty in
Supreme Court, Queens County, to grand larceny in the third
degree and was sentenced to a term of between 18 months and 36
months imprisonment.

          On November 23, 1987, the defendant pleaded guilty to
assault in the first degree in Supreme Court, Queens County, and
was sentenced to a term of between 5 years and 10 years
imprisonment. This offense arose out of the defendant's February
1987 arrest for the attempted murder of a member of the New York
 Case1:20-cr-00305-LDH
Case   1:05-cr-00558-NG Document
                        Document 83-2
                                 63 Filed
                                      Filed04/02/07
                                            04/11/22 Page
                                                      Page2 3ofof6 7PageID
                                                                     PageID#:#:237
                                                                                446




                                                                                  2

Police Department.

          On or about May 24, 1996, the defendant was arrested in
Baltimore, Maryland and was thereafter convicted of theft. He
was sentenced to a term of 6 months imprisonment. The defendant
used the name Samuel Robertson at the time of his arrest and
conviction.

          On or about August 20, 1996, the defendant was arrested
in Baltimore, Maryland and charged with possession of heroin and
cocaine with intent to distribute. The defendant pleaded guilty
and was sentenced to a term of 10 years imprisonment. At the
time of his arrest, the defendant used the false name "Chris
Gibbs" and admitted that he was unemployed.   The defendant was
released in or about March or May 2002.

B.    The Defendant's Other Criminal Activity

          The defendant grew up in Hollis, Queens and, during the
late 1970's and early 1980's was associated with the "Hollis
Crew," a group from Hollis who engaged in drug trafficking,
burglaries and robberies. Thereafter, during the mid 1990's, the
defendant became associated with a number of younger gang
associates from Hollis who were known as the Hollis Juniors Crew.
During the mid-1990's, the Hollis Crew and Hollis Juniors Crew
had a number of disputes with another gang known as the "Young
Guns." It is believed that the defendant's brother was killed by
a person associated with the Young Guns.

          During the 1990's, the defendant lived between
Baltimore, Maryland and Hollis, Queens when he was not
incarcerated. While in Baltimore in or about 1992 or 1993, the
defendant shot a family relation known as "Unique" in the back of
the head because the defendant believed that Unique was
responsible for 250 grams of heroin that was missing. Unique
survived the shooting.

          On or about November 30, 1995, the defendant and two
associates chased and shot Randy Walker as Walker tried to evade
the gunfire. During the chase, the defendant, who was sitting in
the back seat, fired a gun out the back window, striking and
killing Randy Walker. Walker's car flipped over on the
residential street during the chase. At the time, the defendant
believed that he was firing at Young Guns member Christopher
Walker, Randy's brother.

          Thereafter, while in Baltimore and prior to being
arrested and convicted of narcotics distribution in 1996, the
 Case1:20-cr-00305-LDH
Case   1:05-cr-00558-NG Document
                        Document 83-2
                                 63 Filed
                                      Filed04/02/07
                                            04/11/22 Page
                                                      Page3 4ofof6 7PageID
                                                                     PageID#:#:238
                                                                                447




                                                                                  3

defendant distributed narcotics and committed various robberies
and burglaries, including the robbery of a jewelry store at
Reistertown Plaza, and the theft of a firearm, a bullet proof
vest, and various articles of jewelry from a Hollis Crew
associate known as Yakim.

          Upon his release in the spring of 2002, the defendant
resumed his criminal activity.

          In or about July or August 2002, the defendant traveled
to Baltimore and Washington, D.C. to participate in a multi-
kilogram narcotics transaction. The defendant participated in
negotiations for the transaction but, according to the defendant,
the deal was never consummated. The deal was to have involved
Yakim, the Hollis Crew member whose home the defendant had
previously burglarized. On the way back to New York from
Baltimore, the defendant spent approximately $1000 worth of high
quality counterfeit $20 bills that he had obtained in Baltimore.

          In or about late August 2002, the defendant robbed a
man at gunpoint and made his escape by bicycle. When the man
attempted to chase the defendant, the defendant turned and fired
his gun at the man. At the time of his post-arrest interview,
the defendant did not deny that this event occurred, but claimed
that he had committed so many robberies and had been intoxicated
so often, that it would be impossible to remember.

          On October 30, 2002, the defendant and an associate
entered a music studio in Hollis, Queens, and the defendant
pointed his gun at those present in the studio, ordered them to
get on the ground, and provided cover for his associate to shoot
and kill Jason Mizell.

C.    The Defendant's Affidavit

          The defendant prepared a handwritten affidavit, on
October 4, 2006, in support of his motion to exclude certain
photographic identifications from evidence in this case. In that
submission, the defendant argued that officers of the 103
precinct in Queens had targeted him in retaliation for his
conduct over the years, including his assault on an officer, and
that they unfairly sought him for questioning in connection with
the murders of Randy Walker and Jason Mizell.
 Case1:20-cr-00305-LDH
Case   1:05-cr-00558-NG Document
                        Document 83-2
                                 63 Filed
                                      Filed04/02/07
                                            04/11/22 Page
                                                      Page4 5ofof6 7PageID
                                                                     PageID#:#:239
                                                                                448




                                                                                  4


                                    ANALYSIS

I.    The Probative Value of the Defendant's 1996 Convictions
      Outweighs Any Possible Prejudicial Effect.

          At trial, the government seeks to cross-examine the
defendant about: 1) his May 1996 conviction for theft and
2) his August 1996 conviction for narcotics distribution.

          The government may cross-examine a defendant in regards
to a prior conviction where the conviction was punishable by more
than one year imprisonment and the court finds that the probative
value of admitting the evidence outweighs its prejudicial effect
to the accused. Fed. R. Evid. 609(a)(1); United States v.
Hourihan, 66 F.3d 458, 464 (2nd Cir. 1995); United States v.
Pedroza, 750 F.2d 187, 202-203 (2nd Cir. 1984). Where, however,
ten years has elapsed since the date of release from confinement,
a conviction is not admissible "unless the court determines, in
the interest of justice, that the probative value of the
conviction supported by specific facts and circumstances
substantially outweighs its prejudicial effect." Fed. R. Evid.
609(b). The government may also cross-examine a defendant in
regards to any prior conviction if it involved dishonesty or
false statement. Fed. R. Evid. 609(a)(2).

            The defendant's narcotics distribution conviction is
a felony and is well within the 10-year time limit. In addition,
the defendant used a false name, Chris Gibbs, when arrested for
that offense. The defendant's 1996 theft conviction, while
outside the 10 year period, is particularly probative of his
truthfulness given the nature of the offense and his use of the
false name, Samuel Robertson. See United States v. Reed, 572
F.2d 412, 426 (2d Cir. 1977)(felony robbery and assault
convictions found probative of credibility and admissible under
Rule 609(a)(1)).

          Should the defendant testify, his credibility and that
of the cooperating witness will likely become the central issue
in the case. In weighing a case where the credibility of the
defendant is a central issue, it will be essential that the jury
possess all the available, relevant information on that point.
See United States v. Toney, 27 F.3d 1245, 1253-54 (7th Cir.
1994). The prejudice to the defendant is minimal. During cross-
examination of Daynia McDonald, the witness replied in the
affirmative to counsel's question whether the defendant had ever
told her that he didn't want her to become involved in his
"stick," i.e., crimes. In addition, the narcotics offense is
 Case1:20-cr-00305-LDH
Case   1:05-cr-00558-NG Document
                        Document 83-2
                                 63 Filed
                                      Filed04/02/07
                                            04/11/22 Page
                                                      Page5 6ofof6 7PageID
                                                                     PageID#:#:240
                                                                                449




                                                                                  5

relevant because he was released in the Spring of 2002, proving
that the photographs between the defendant and Ms. McDonald must
have been taken in the fall of 2002, consistent with Ms.
McDonald's testimony (in the photographs, the defendant and Ms.
McDonald are wearing winter coats). If the court were to allow
the defendant to testify while withholding the truth regarding
his own criminal record it would affirmatively mislead the jury
into believing that the defendant had no significant criminal
record. Any prejudicial effect is clearly outweighed by the
probative nature of this information to the jury in evaluating
the defendant's credibility should he choose to testify.

II.    The Government Should Be Permitted To Inquire Into Certain
       Specific Instances of the Defendant's Conduct.

          Rule 608 provides that specific instances of the
conduct of a witness, for the purpose of attacking the witness'
character for truthfulness, may be inquired into during cross-
examination if probative of truthfulness or untruthfulness. Fed.
R. Evid. 608.

          The government intends to cross-examine the defendant
concerning the following specific instances of conduct, which are
probative of untruthfulness: the defendant's theft in 1995 or
1996 of a firearm, a bullet proof vest, and various articles of
jewelry from a Hollis Crew associate known as Yakim while Yakim
was away from home and the defendant's possession and use of
counterfeit money in July or August 2002.

III.        The Government Should Be Permitted to Inquire Into
            Other Matters That Are Relevant to Issues in the Case.

          As Daynia McDonald has testified, the defendant sent
her a letter in December 2006 which stated, inter alia, "Strength
and Honor." Ms. McDonald understood that letter to be an attempt
to influence her not to testify. Ms. McDonald also testified
that the letter caused her fear. During their relationship in
the fall of 2002, the defendant confided in Ms. McDonald his
participation in the following violent crimes: the attempted
murder of his cousin, Unique; the murder of Randy Walker; and the
murder of Jason Mizell. If the defendant testifies, it is likely
he will claim that he did not intend to frighten Ms. McDonald or
otherwise influence her.

          Moreover, the defendant has already submitted an
affidavit in this case in which he claimed that officers unfairly
targeted him as a suspect in each of those two murders.
Effective cross-examination requires inquiry into these topics,
 Case1:20-cr-00305-LDH
Case   1:05-cr-00558-NG Document
                        Document 83-2
                                 63 Filed
                                      Filed04/02/07
                                            04/11/22 Page
                                                      Page6 7ofof6 7PageID
                                                                     PageID#:#:241
                                                                                450




                                                                                  6

both to confirm a legitimate basis for Ms. McDonald's fear and to
demonstrate that officers had proper basis for their suspicions
of the defendant, and preclusion of such an inquiry would mislead
the jury.

                               CONCLUSION

          For the reasons stated above, the government
respectfully moves in limine to cross-examine the defendant
concerning his 1996 theft conviction, his 1996 felony narcotics
conviction, his possession and use of counterfeit money, his
theft of various items from a former associate's home, and his
participation in various acts of violence.

                                                   Very truly yours,

                                                   ROSLYNN R. MAUSKOPF
                                                   United States Attorney

                                            By:    _________________________
                                                   Sean Haran
                                                   Adam Abensohn
                                                   Assistant U.S. Attorneys
                                                   (718) 254-6176/6143

cc: Richard Shanley, Esq.
    Clerk of the Court (NG)
